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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                   :
 CHASE LUSHER,                                     :
                                                   :
                 Plaintiff,                        : Civil Action No.: 5:23-cv-02275
                                                   :
         v.                                        :
                                                   :
                                                   :
 BANK OF AMERICA, N.A.,                            :
                                                   :
                 Defendant.                        :


                  MOTION FOR LEAVE TO WITHDRAW AS COUNSEL

       AND NOW, comes J.P. Ward & Associates, LLC, and specifically Justin M. Bahorich,

Esq., who file the within Motion for Leave to Withdraw as Counsel for Plaintiff, and aver the

following:


       1.      J.P. Ward & Associates, LLC, and specifically Justin M. Bahorich, Esq. have

entered their appearance on the above-captioned case.

       2.      On September 20, 2023, Plaintiff reached out to Attorney Bahorich via e-mail,

expressing that he no longer wishes for J.P Ward & Associates, LLC, or any of its attorneys, to

represent him with respect to the above-captioned case.


       3.      Rule 1.16(a) of the Pennsylvania Rules of Professional Conduct provides that

“where representation has commenced, [a lawyer] shall withdraw from the representation of a

client if: . . . the lawyer is discharged.” Pa.R.P.C. 1.16(a).

       4.      Plaintiff’s counsel and Plaintiff have experienced a breakdown in communications

and irreconcilable differences have arisen which make it impossible for the moving party to

continue as legal counsel for Plaintiff in this matter.


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       5.      J.P. Ward & Associates, and specifically Justin M. Bahorich, Esquire, provided

Plaintiff notice on October 11, 2023, of the firm’s intent to withdraw appearance from this case,

pursuant to Pa. R. Prof. Conduct 1.16 §(b)(5).

       6.      Plaintiff’s counsel and Plaintiff had in depth oral discussions regarding this matter,

in addition to written notice provided on this day, October 31, 2023.

       7.      Plaintiff requests that the Court stay all deadlines in this matter until the Court

issues a decision on this Motion for Leave to Withdraw.

       WHEREFORE, Justin M. Bahorich, Esq., respectfully requests that this Honorable Court

grant this Motion for Leave to Withdraw the Appearance of Joshua P. Ward, Esq., as counsel for

Plaintiff, and enter the Proposed Order of Court, and to grant such other relief this Honorable Court

deems just and proper.




                                              J.P. WARD & ASSOCIATES, LLC

Date: October 31, 2023                        By: /s/ Justin M. Bahorich
                                                  Justin M. Bahorich, Esq. (Pa. I.D. No. 329207)

                                                     J.P. Ward & Associates, LLC
                                                     The Rubicon Building
                                                     201 South Highland Avenue
                                                     Suite 201
                                                     Pittsburgh, PA 15206

                                                     Counsel for Plaintiff




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